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                IN THE UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

SAVVY DOG SYSTEMS, LLC, a
Wyoming limited liability company, and
POM OF PENNSYLVANIA, LLC a
Wyoming limited liability company,
            Plaintiff,
                                              Civil Action No. 3:19-cv-01470-JPW
     v.
                                                   Honorable Jennifer P. Wilson
PENNSYLVANIA COIN, LLC, a
Pennsylvania limited liability company,
and PA COIN HOLDINGS, LLC, a
Pennsylvania limited liability company,

            Defendants.

       PLAINTIFFS’ RESPONSE AND COUNTERSTATEMENT TO
         DEFENDANTS’ STATEMENT OF MATERIAL FACTS

      Pursuant to Local Rule 56.1, Plaintiffs Savvy Dog Systems, LLC and POM

of Pennsylvania, LLC (collectively, “POM”) submit this Statement of Material Facts

in opposition to the Statement of Material Facts for Which There is No Issue to Be

Tried (Dkt. 161) filed by Defendants Pennsylvania Coin, LLC and PA Coin

Holdings, LLC (collectively, “Defendants”) in support of their motion for summary

judgment (Dkt. 155).

      POM identifies those statements for which POM contends, at this time and

solely in relation to opposing Defendants’ arguments in their summary judgment

motion, that “there is a genuine issue to be tried.” L.R. 56.1. POM’s position is
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based on the limited arguments and evidence advanced by Defendants in support of

their motion for summary judgment. POM reserves the right to supplement this

statement.

I.    Response to Defendants’ Statement of Facts

      1.     Plaintiffs Savvy Dog Systems, LLC and POM of Pennsylvania, LLC

(collectively, “Plaintiffs”) have admitted that a report by Nick Farley & Associates,

dated March 7, 2005 and produced at POM000450-POM000469 is prior art to U.S.

Patent No. 7,736,223 (the “’223 Patent”). See Ex. A, Plaintiffs’ Responses and

Objections to Defendants’ First Set of Requests for Admissions Directed to Plaintiffs

Savvy Dog Systems, LLC and POM of Pennsylvania, LLC at Response to RFA No.

1; see also Ex. B (POM000450-POM000469).

      Plaintiffs’ Response: No genuine issue of material fact.

      2.     The March 7, 2005 Nick Farley & Associates Report describes that the

prior art Tic-Tac-Fruit game as having a “video screen [that] presents nine symbols

in a 3x3 array to the player, similar to a t[i]c-tac-toe arrangement.” Ex. B at

POM000451.

      Plaintiffs’ Response: No genuine issue of material fact.

      3.     Plaintiffs’ expert, Kevin Harrigan, Ph.D., testified that the prior art Tic-

Tac-Fruit game disclosed the testing limitation of the ’223 Patent (“testing the game

field prior to displaying the game to the player to ensure that a winning combination



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more valuable than the determined winning combination is not generated

inadvertently in completing the field”). See Ex. C, Excerpts of Tr. of Jan. 12, 2022

Dep. of K. Harrigan, at 111:23-113:8.

      Plaintiffs’ Response: POM disputes this statement. Dr. Harrigan testified

that the prior art Tic-Tac-Fruit game disclosed testing, but did not disclose the testing

limitation (Element 44.5) in the order disclosed in the 223 Patent, or in conjunction

with the “automatically displaying” element. (Exhibit A, Excerpts of Tr. of Jan. 12,

2022 Dep. of Kevin Harrigan, Ph.D. (“Harrigan Dep.”), at 112:5-113:8). This is

consistent with Dr. Harrigan’s Amended Responsive Expert Report, opining that:

      Previous versions of TTF do not disclose this element when read in
      conjunction with the Automatic Display Element, because a POSITA
      would understand that prior art TTF did not disclose or perform testing,
      and automatically displaying the constructed game field before
      initiating activation of game play, which is required by element 44.5
      and 44.6. The Friedman Report does not dispute this. (Friedman Report,
      ¶ 192 (“…testing, and displaying the game field before ‘initiating
      activation of game play[.]’”)). To the contrary, as shown in this report,
      a POSITA would understand that any testing in the prior art would only
      take place after initiation of game play, and therefore, that the prior art
      TTF computer code was incompatible with the ability to generate and
      test a game field prior to initiating activation of game play.

(Exhibit B, December 16, 2021 Harrigan Amended Responsive Expert Report

(“Harrigan Report”), ¶ 334 (emphasis in original)).

      4.     Dr. Harrigan testified that the “processor” claimed in the ’223 Patent is

only “specially configured” insofar as it is carrying out the steps of the named

inventor of the ’223 Patent Michael Pace’s game. Id. at 130:11-21.

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      Plaintiffs’ Response: POM disputes this statement. Dr. Harrigan testified

that the processor claimed in the 223 Patent is specially configured to run the Tic-

Tac-Fruit game. (Harrigan Dep., at 129:21-131:7). This is consistent with Dr.

Harrigan’s report opining that “elements [44.2], [44.5] and [44.6] [of Claim 44 of

the 223 Patent] describe a specially configured electronic gaming processor – one

that is configured to test a game field and automatically display a game field to be

played to a player prior to the initiation of game play, before the player makes the

decision to play the game.” (Harrigan Report, ¶ 232; see also id., ¶ 237(a) (“But the

key point is that the game processor is specially configured to carry out the testing

of the invention prior to the player deciding to play the game, making a wager and

beginning the game play, not simply before the display of the game after the player

has begun game play.”)).

      5. Dr. Harrigan testified that Mr. Pace’s invention of the Tic-Tac-Fruit game

could be implemented using a “conventional, off-the-shelf CPU or microprocessor.”

Id. at 132:7-17; see id. at 131:8-18.

      Plaintiffs’ Response: No genuine issue of material fact, but POM further

refers the Court to POM’s Response to SOF ¶ 4, supra.

      6.     Dr. Harrigan testified that the only barrier to a person of ordinary skill

in the art implementing the alleged invention supposedly claimed in the ’223 Patent

was the “idea of an automatic preview feature.” Id. at 134:21-135:23.



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      Plaintiffs’ Response: POM disputes this statement.             During deposition,

counsel asked Dr. Harrigan: “So the idea of an automatic preview feature would be,

in your opinion, the only barrier to a POSITA creating and implementing the alleged

invention in the early 2006 time frame?” (Harrigan Dep., at 135:10-13). In response,

Dr. Harrigan testified that if a person of ordinary skill in the art “had all of the ideas

of the ‘223 patent, then they could implement those ideas, yes.” (Id. at 135:21-23).

Thus, Dr. Harrigan explicitly stated that a person of ordinary skill in the art would

need “all of the ideas of the ‘223 patent” before they could implement the ideas.

      7.     Dr. Harrigan testified that the ’223 Patent elevated the level of skill and

eliminated chance in electronic gaming. Id. at 149:12-15, 21-25; 150:1-3, 5-6, 13-

25.

      Plaintiffs’ Response: POM disputes this statement. Dr. Harrigan testified

that the claims of the 223 Patent accomplished the goals of elevating the level of

skill and reducing the level of chance in electronic gaming. (Harrigan Dep., at

149:12-15, 21-25; 150:1-3, 5-6, 13-25). He did not testify that the claims of the 223

Patent “eliminated chance in electronic gaming.”

      8.     Michael Pace—the named inventor of the ’223 Patent—testified that

the “preview” feature was created to work around legal obstacles. See Ex. D,

Excerpts of Tr. of Aug. 4, 2021 Dep. of M. Pace at 25:9-26:17; 88:18-90:13.

      Plaintiffs’ Response: No genuine issue of material fact.



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      9.     Mr. Pace testified that he first made the Tic-Tac-Fruit game of the type

described in the ’223 Patent using then commercially available game boards (Pot-

of-Gold and Skidmore boards) with commercially-available memory devices

(EPROMs and CompactFlash cards) and conventional processors (the Texas

Instruments 34010 and AMD Geode). See id. at 47:22-48:21, 49:25-50:23, 55:7-

56:19, 57:5-10, 156:18-20; Ex. E, Cummings Decl., at Ex. B.

      Plaintiffs’ Response: POM disputes that the cited record testimony and

evidence supports this statement. Mr. Pace did not testify in the cited passages that

any game board or memory device was “commercially-available”. Further, Mr. Pace

did not testify in the cited passages that any processor was “conventional”, nor did

the Cummings Declaration refer to either the Texas Instruments 34010 or AMD

Geode processor as “conventional”.

      10.    Mr. Pace testified that an embodiment of his purported invention could

have been implemented on a game board existing in the 1990s. Ex. D at 200:5-

202:15.

      Plaintiffs’ Response: No genuine issue of material fact.

      11.    Mr. Pace testified that the testing limitation of the ’223 Patent was

performed by prior art Tic-Tac-Fruit electronic games. Id. at 68:17-71:18.

      Plaintiffs’ Response: POM disputes this statement. See Pace Dep., Dkt. 161-

4, at 68:17-71:18.



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      12.    In response to Interrogatory No. 11 served in the instant action,

Plaintiffs admitted that all limitations in the independent claims of the ’223 Patent

were contained in the prior art except for the testing limitation and the limitation of

“automatically displaying an actual game to be played . . . prior to initiating

activation of game play.” See Ex. F, Plaintiffs’ Sixth Supplemental Responses and

Objections to Defendants’ Second Set of Interrogatories, at Second Supplemental

Response to Rog. No. 11.

      Plaintiffs’ Response: POM disputes this statement. In support of Statement

of Fact No. 12, Defendants refer the Court to POM’s Second Supplemental Response

to Rog. No. 11. However, POM supplemented this response with POM’s Third

Supplemental Response to Rog. No. 11, on August 13, 2021. (See Dkt. 161-6 (Ex. F

to Defendants’ Statement of Material Facts, POM’s Sixth Supplemental Responses

and Objections to Defendants’ Second Set of Interrogatories, at Third Supplemental

Response to Rog. No. 11, at p. 64)). POM’s Third Supplemental Response to Rog.

No. 11 referred Defendants to POM’s First Supplemental Response to Interrogatory

No. 14, including Exhibit A to such response. Id.

      Exhibit A to POM’s First Supplemental Response to Interrogatory No. 14

identifies differences between the claims of the 223 Patent and any version of Tic-

Tac-Fruit that existed prior to the filing date of the 223 Patent. (See Exhibit C,

POM’s First Supplemental Responses and Objections to Defendants’ Fourth Set of

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Interrogatories, August 13, 2021, at Exhibit A). These differences include, but are

not limited to, the testing and automatically displaying elements. (Id. at Ex. A, at 5-

6 (elements 44.5 and 44.6)).

      Furthermore, Interrogatory No. 11 was directed solely to differences between

each asserted claim of the 223 Patent and each version of Tic-Tac-Fruit that existed

prior to the filing date of the 223 Patent – not, more generally, differences between

the 223 Patent and “the prior art”.

      13.     In response to Interrogatory No. 8 served in the instant action, Plaintiffs

provided all facts supporting their contention that any claim, element, or

combination of elements in the ’223 Patent is directed to a non-abstract idea and/or

is directed to an inventive concept(s) under 35 U.S.C. § 101 and Alice Corporation

Pty. Ltd. v. CLS Bank International, 573 U.S. 208 (2014). See Ex. F at Response to

Rog. No. 8.

      Plaintiffs’ Response: POM disputes this fact. POM objected to Interrogatory

No. 8: (a) on the grounds that it was unduly burdensome as unduly burdensome, to

the extent it sought discovery of “all facts” supporting POM’s contention that the

223 Patent is directed to a non-abstract idea and is direction to an inventive concept;

and (b) subject to the third-party and expert discovery regarding what would have

been well-understood, routine or conventional as of the priority date of the 223

Patent. (See Dkt. 161-6 (Ex. F to Defendants’ Statement of Material Facts, POM’s



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Sixth Supplemental Responses and Objections to Defendants’ Second Set of

Interrogatories), at 35). Further, the report of POM’s retained expert, Dr. Harrigan,

consists of 356 paragraphs and contains additional facts supporting POM’s

contention that any claim, element, or combination of elements in the 223 Patent is

directed to a non-abstract idea and/or is directed to an inventive concept(s) under 35

U.S.C. § 101 and Alice Corporation Pty. Ltd. v. CLS Bank International, 573 U.S.

208 (2014). (See generally Ex. B).

      14.    In response to Interrogatory No. 8 served in the instant action, Plaintiffs

stated that the ’223 Patent claims contain an inventive concept because they recite

“new” electronic gaming systems, game processors, etc. because two of the claimed

abstract game steps—the “testing . . .” and “automatically displaying . . .” steps—

were not carried out in prior art games. See id.

      Plaintiffs’ Response:      POM disputes this statement.          POM’s Fourth

Supplemental Response to Interrogatory No. 8 is set forth at pages 35-49 to POM’s

Sixth Supplemental Responses and Objections to Defendants’ Second Set of

Interrogatories. (See Dkt. 161-6 (Ex. F)). In the response, POM stated that the

elements of “testing the game field prior to displaying the game to the player to

ensure that a winning combination more valuable than the determined winning

combination is not generated inadvertently in completing the field, and

automatically displaying an actual game to be played on the touch screen display to



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a player prior to initiating activation of game play —individually and as an ordered

combination— recite an inventive concept and were not generic, well-understood,

conventional or routine in the field at the time of invention.” (Id. at 46).

       15.   A document produced in discovery in the instant action dated August

14, 2013 and entitled “Paceomatic’s Patent Portfolio” states “Preview feature used

to remove chance from a skill game since a player may look at the next puzzle before

committing to play of the game.” Ex. G at POM_ESI_00464.

      Plaintiffs’ Response: No genuine issue of material fact.

II.   POM’s Counterstatement of Material Facts

      POM hereby submits the following counterstatement of materials facts

(“CSOF”) in support of their Response in Opposition to Defendants’ Motion for

Summary Judgment for Patent Invalidity Under 35 U.S.C. § 101.

      1.     Defendants’ expert, Stacy Friedman, testified at deposition that the

“automatically displaying” limitation set forth in Claim 44 of the 223 Patent was not

“conventional, well known, and routine” in June 2006, testifying:

      Q.     Well, okay, the -- let's turn to Exhibit Number 1 and to Claim 44
             [of the 223 Patent], which is Column 16. And it says one of the
             limitations is "automatically displaying an actual game to be
             played on the touchscreen game display to a player prior to
             initiating activation of gameplay."
             Was that limitation as a whole, in your view, conventional,
             well known, and routine in June of 2006?

      ...


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       A.     I think as a whole, the answer is probably no.

(See Exhibit D, Excerpts of Tr. of January 7, 2022 deposition of Stacy Friedman

(“Friedman Dep.”), at 200:4-14).

       2.     During his deposition, Mr. Friedman also admitted that new

programming on an existent system could constitute a technological improvement,

such that the improvement need not be in the hardware per se:

       Q.     In your view, could new programming on an existent system
              constitute a technological improvement?
       ...

       A.     In -- in certain cases it could.

       Q.     And so you are not saying that the '223 necessarily had to include
              a hardware improvement in order to have patentable subject
              matter?
       ...

       A.     No, I'm not saying that.

(Id., at 22:1-10).

       3.     Mr. Friedman also admitted at deposition that a new algorithm applied

to generic hardware could constitute non-abstract technological matter worthy of

invention. (Id., at 33:6-35:5).

       4.     Consistent with Mr. Friedman’s deposition admission, see CSOF ¶ 1,

supra, POM’s expert, Dr. Kevin Harrigan, Ph.D., opined in his report that as

described in Claim 44, a game processor specially configured to perform the

“testing” limitation and the “automatically displaying” limitation was not

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conventional, well-understood or routine at the time of the invention. (Harrigan

Report, ¶¶ 232-234, 237-238).

        5.    Dr. Harrigan is a computer scientist with expertise in electronic gaming

at the time of the 223 Patent invention. (Id., ¶¶ 6-19). He is a person of ordinary

skill in the art for purposes of analyzing the patentability of the 223 Patent. (See id.,

¶¶ 33-34).

        6.    In his responsive expert report, Dr. Harrigan did not opine that

hardware is the inventive concept that makes the claims of the 223 Patent eligible

for patentability. Instead, Dr. Harrigan opined that it is the specially configured game

processor that is neither conventional nor generic. (See id., ¶¶ 223, 232-234, 236-

238).

        7.    Dr. Harrigan opined that there are different definitions of firmware, and

his understanding is that POM’s position is that the firmware referenced in the 223

Patent game processor is computer code in binary form located in EPROM:

        In Paragraph 166, the Friedman Report disputes Savvy Dog’s reference
        to firmware. There are different definitions of firmware. But I
        understand this reference by Savvy Dog is to computer code in binary
        form located in EPROM.
        See     https://courses.lumenlearning.com/zeliite115/chapter/reading-
        firmware/.”

(Id., ¶ 237(f)).

        8.    Dr. Harrigan opined in his report that a person of ordinary skill in the

art (“POSITA”) would understand Claim 44 to be directed to a specially configured

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game processor, one that was not well understood prior to the 223 Patent. (Id., ¶¶

232-234, 237-238).

       9.    In 2005, the State of Ohio challenged the legality of the version of Tic-

Tac-Fruit (“TTF”) then in operation, resulting in an October 2005 hearing before the

Ohio Liquor Control Commission. (See generally Exhibit E, Transcript for

proceedings before the Liquor Control Commission of the State of Ohio, In re: FOE

Aerie 2171, Case No. 1342-05, October 19, 2005).

       10.   Mr. Pace subsequently began the process of reprogramming TTF to

implement a preview feature and related pre-fetch feature, such that it would meet

the Ohio requirements. (See Exhibit F, Excerpts of Tr. of August 4, 2021 Dep. of

Michael Pace, at 40:25-41:3, 68:10-15; see also Harrigan Report, ¶ 42).

       11.   Dr. Harrigan opined in his report that, to his knowledge, prior to May

2, 2006, there were no electronic games in which the player could preview the

outcome of the game before committing to playing that game. (Harrigan Report, ¶

40).

       12.   Dr. Harrigan opined in his report that the game processor of Claim 44,

as configured, performs a number of steps that take place prior to the initiation of

the game including the “testing” step [44.5], which takes place immediately before

the “automatically displaying” step, which takes place before “initiation activation

of game play” [44.6]. (Harrigan Report, ¶¶ 231-232).



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      13.    Dr. Harrigan opined that the “testing” and “automatically displaying”

steps, as set forth in Claim 44 of the 223 Patent, do not relate to the rules of how the

player may play the game once initiated (e.g., the rules in the prior art TTF such as

where the player can place the “wild symbol” in TTF). (Id., ¶¶ 232-233; see also id.,

¶ 334):

      Previous versions of TTF do not disclose this element when read in
      conjunction with the Automatic Display Element, because a POSITA
      would understand that prior art TTF did not disclose or perform testing,
      and automatically displaying the constructed game field before
      initiating activation of game play, which is required by element 44.5
      and 44.6. The Friedman Report does not dispute this. (Friedman Report,
      ¶ 192 (“…testing, and displaying the game field before ‘initiating
      activation of game play[.]’”)). To the contrary, as shown in this report,
      a POSITA would understand that any testing in the prior art would only
      take place after initiation of game play, and therefore, that the prior art
      TTF computer code was incompatible with the ability to generate and
      test a game field prior to initiating activation of game play.

(Emphasis in original).

      14.    The “testing” step is performed by the game processor of Claim 44, and

is not visible to the player. (See Dkt. 111, at 6-7 (Court adopting construction of

“prior to displaying” portion of the testing step as “before making visible on the

touch screen display”)).

      15.    Dr. Harrigan opined that, as articulated in Claim 44, the “automatically

displaying” limitation was counter-intuitive (e.g., showing a player the game to be

played, and thus permitting the player to determine how much he or she could win,

before placing a wager):

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      [F]ar from being conventional or well-understood at the time of
      invention, configuring an electronic game processor to include the
      combined Testing/Display Elements would have been counterintuitive
      to game designers. See Section VI(A), supra. This specially configured
      electronic game processor permits the player to see the game board
      itself before initiating play and allowing the player to decide whether
      he/she has the skill to win the actual game to be played before he/she
      commits funds to play the game. Logically, the player would not want
      to proceed to play a game that he/she lacked the skill to win.

(Harrigan Report, ¶ 234; see also id., ¶ 43).

      16.    Mr. Friedman testified that a game that requires the press of a button to

display a game cannot meet the automatically displaying limitation. (Friedman Dep.,

at 64:20-66:3).

      17.    Numerous developments in auto safety, such as vehicle bumper

designs, have arisen from safety regulations. (See, e.g., Exhibit G, U.S. Patent No.

7,625,022, at 1:25-2:14 (patent for vehicle bumpers citing existing vehicle

regulations); Exhibit H, U.S. Patent No. 9,376,955, at 1:44-2:47 (patent for

optimization of engine combustion, discussing “stringent emissions regulations” in

the patent background); Exhibit I, U.S. Patent No. 10,287,943, at 1:14-3:20 (patent

for duel-fuel and after treatment for heavy-heavy duty diesel, discussing regulations

enacted to reduce smog)).



February 28, 2022                   Respectfully submitted,

                                    /s/ Steven G. Hill
                                    Steven G. Hill, GA Bar No. 354658

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                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed on this 28th day of February, 2022

via the Court’s CM/ECF filing system, which will send electronic notice of such

filing to all counsel of record.

                                       /s/Steven G. Hill
                                       Steven G. Hill

                                       Counsel for Plaintiffs Savvy Dog Systems,
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